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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 Smarter Agent, LLC

                                 Plaintiff                Civil Action No.: 6:19-cv-00182

                         vs.

 Real Estate Webmasters, Inc.                                  Jury Trial Demanded
                                 Defendant


                        COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff Smarter Agent, LLC (“Smarter Agent”), by its undersigned attorneys, alleges,

with knowledge with respect to its own acts and on information and belief as to other matters, as

follows:


                                   NATURE OF THIS ACTION

1.        Smarter Agent brings this action to compel defendant Real Estate Webmasters, Inc.

(“Real Estate Webmasters,” “REW,” or “Defendant”) to cease infringing Smarter Agent’s

patents and to compensate Smarter Agent for patent infringement.

2.        Smarter Agent invented systems and methods generally related to location-aware search

engines and related storage technology. Smarter Agent has offered for sale software applications

embodying or related to those inventions.

3.        Smarter Agent’s systems and methods make location-based search queries more efficient

by allowing, for a location-based search focused in time and occurring at a specific location, a

user to focus a location-based search query without leaving the context of the location-based

search.




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4.        Smarter Agent provides products and services to real estate brokers and brokerages,

including mobile apps and Smarter Agent’s “Tech Connect” program. Smarter Agent’s products

and services have won multiple industry awards. These software products are compatible with

both the iOS and Android mobile platforms for wireless devices, such as smartphones and

tablets. See Smarter Agent, About Us at https://www.smarteragent.com/about-us/ (last accessed

Feb. 25, 2019), attached hereto as Exhibit PP.

5.        In 2018, the Keller Williams brokerage firm purchased Smarter Agent Mobile, LLC, a

spin-off of Smarter Agent, which now operates as a turnkey software-as-a-service provider.

6.        Smarter Agent created through its own extensive expenditure of time, labor, effort, skill,

and money various products and services built on the technology described in the Patents-in-Suit.


                                              PARTIES

7.        Smarter Agent is a private company that has its principal place of business at 756 Haddon

Avenue, Suite 300, Collingswood, NJ 08108.

8.        Real Estate Webmasters Inc. is a Canadian corporation with its principal place of

business at 223 Commercial Street, Nanaimo, British Columbia, Canada, V9R5G8.

9.        Real Estate Webmasters Inc. is registered for the right to transact business in Texas and

has a Texas taxpayer number 32063773272. See Exhibit R.


                                  JURISDICTION AND VENUE

10.       This action arises under the patent laws of the United States of America, 35 U.S.C. §§ 1

et seq.

11.       This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).




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12.    This Court has personal jurisdiction over REW at least because REW conducts business,

including infringing acts described herein, in this District. For example, REW provides app

development services to, among others, SWPRE, a Texas real estate firm located in Brenham,

Texas. The SWPRE app, developed by REW, allows a user to “search all homes, condos and lots

for sale in the Texas area.” Apple, SWPRE on the App Store, at

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8 (last accessed Feb. 14, 2018), Ex. Q.

13.    This Court has personal jurisdiction over REW at least because REW conducts business

in this District. As noted above, REW has Texas Taxpayer Number 32063773272. See Ex. R.

14.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(c)(3), as venue is proper

over a foreign corporation in “any judicial district.”


                                    THE PATENTS-IN-SUIT

15.    On August 20, 2003, Brad and Eric Blumberg filed United States Patent Application No.

10/644,060 (“the ʼ060 Application”). The ʼ060 Application was duly examined and issued as

United States Patent No. 7,457,628 (“the 628 Patent”) (entitled “System and Method for

Providing Information Based on Geographic Position”), on November 25, 2008.

16.    Messrs. Blumberg assigned the ’628 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 020018/0796. Smarter Agent, Inc. assigned the ʼ628 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 020024/0532.

17.    Smarter Agent is the owner of the ’628 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ’628 Patent.

18.    The ’628 Patent is valid and enforceable. A copy of the ’628 Patent is attached hereto as

Exhibit A.



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19.    On November 21, 2008, Brad and Eric Blumberg filed United States Patent Application

No. 12/275,683 (“the ʼ683 Application”). The ʼ683 Application was duly examined and issued as

United States Patent No. 8,442,550 (“the ʼ550 Patent”) (entitled “System and Method for

Providing Information Based on Geographic Position”), on May 14, 2013.

20.    Messrs. Blumberg assigned the ʼ550 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 030214/0067. Smarter Agent, Inc. assigned the ʼ550 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 030214/0062.

21.    Smarter Agent is the owner of the ʼ550 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ550 Patent.

22.    The ʼ550 Patent is valid and enforceable. A copy of the ʼ550 Patent is attached hereto as

Exhibit B.

23.    On April 30, 2014, Brad and Eric Blumberg filed United States Patent Application No.

14/266,144 (“the ʼ144 Application). The ʼ144 Application was duly examined and issued as

United States Patent No. 9,183,584 (“the ʼ584 Patent”) (entitled “System and Method for

Providing Information Based on Geographic Position”), on November 10, 2015.

24.    Messrs. Blumberg assigned the ʼ584 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 033524/0135. Smarter Agent, Inc. assigned the ʼ584 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 033524/0143.

25.    Smarter Agent is the owner of the ʼ584 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ584 Patent.




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26.    The ʼ584 Patent is valid and enforceable. A copy of the ʼ584 Patent is attached hereto as

Exhibit C.

27.    On October 26, 2015, Brad and Eric Blumberg filed United States Patent Application No.

14/922,428 (“the ʼ428 Application”). The ʼ428 Application was duly examined and issued as

United States Patent No. 9,754,317 (“the ʼ317 Patent”) (entitled “System and Method for

Providing Information Based on Geographic Position”), on September 5, 2017.

28.    Messrs. Blumberg assigned the ʼ317 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 036883/0583. Smarter Agent, Inc. assigned the ʼ317 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 036883/0588.

29.    Smarter Agent is the owner of the ʼ317 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ317 Patent.

30.    The ʼ317 Patent is valid and enforceable. A copy of the ʼ317 Patent is attached hereto as

Exhibit D.

31.    On August 23, 2012, Brad and Eric Blumberg filed United States Patent Application No.

13/592,411 (“the ʼ411 Application”). The ʼ411 Application was duly examined and issued as

United States Patent No. 9,002,371 (“the ʼ371 Patent”) (entitled “Position-Based Information

Access Device and Method of Searching”), on April 7, 2015.

32.    Messrs. Blumberg assigned the ʼ371 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 030876/0694. Smarter Agent, Inc. assigned the ʼ371 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 030876/0729.




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33.    Smarter Agent is the owner of the ʼ371 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ371 Patent.

34.    The ʼ371 Patent is valid and enforceable. A copy of the ʼ371 Patent is attached hereto as

Exhibit E.

35.    On March 23, 2015, Brad and Eric Blumberg filed United States Patent Application No.

14/665,444 (“the ʼ444 Application”) was duly examined and issued as United States Patent No,

9,754,333 (“the ʼ333 Patent”) (entitled “Position-Based Information Access Device and Method

of Searching”), on September 5, 2017.

36.    Messrs. Blumberg assigned the ʼ333 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 042181/0430. Smarter Agent, Inc. assigned the ʼ333 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 042181/0472.

37.    Smarter Agent is the owner of the ʼ333 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ʼ333 Patent.

38.    The ʼ333 Patent is valid and enforceable. A copy of the ʼ333 Patent is attached hereto as

Exhibit F.

39.    On October 14, 2005, Brad and Eric Blumberg filed United States Patent Application No.

11/249,733 (“the ʼ733 Application”). The ʼ733 Application was duly examined and issued as

United States Patent No. 7,599,795 (“the ‘795 Patent”) (entitled “Mobile Location Aware Search

Engine and Method of Providing Content for Same”), on October 6, 2009.




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40.    Messrs. Blumberg assigned the ’795 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 020018/0796. Smarter Agent, Inc. assigned the ʼ795 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 020024/0532.

41.    Smarter Agent is the owner of the ’795 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ’795 Patent.

42.    The ’795 Patent is valid and enforceable. A copy of the ’795 Patent is attached hereto as

Exhibit G.

43.    On October 5, 2009, Brad and Eric Blumberg filed United States Patent Application No.

12/573,537 (“the ʼ537 Application”). The ʼ537 Application was duly examined and issued as

United States Patent No. 8,473,199 (“the ’199 Patent”) (entitled “Mobile Location Aware Search

Engine and Method of Providing Content for Same”), on June 25, 2013.

44.    Messrs. Blumberg assigned the ’199 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 029166/0526. Smarter Agent, Inc. assigned the ʼ199 Patent to Smarter Agent,

LLC. See USPTO Reel/Frame No. 029166/0554.

45.    Smarter Agent is the owner of the ’199 Patent and has the full and exclusive right to

bring actions and recover past, present, and future damages for the Defendant’s infringement of

the ’199 Patent.

46.    The ’199 Patent is valid and enforceable. A copy of the ’199 Patent is attached hereto as

Exhibit H.

47.    Smarter Agent has identified on their website that their software products are covered by

the ’795 Patent, the ’628 Patent, the ’199 Patent, and the ’550 Patent since at least October 2015.




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48.    Smarter Agent has identified on their website that their software products are covered by

the ’371 Patent since at least December 2015.

49.    Smarter Agent has identified on their website that their software products are covered by

the ’584 Patent, the ’317 Patent, and the ’333 Patent since at least February 2019

50.    The ʼ628, ʼ550, ʼ584, ʼ317, ʼ371, ʼ333, ʼ795, and ʼ199 Patents are collectively referred to

herein as the “Patents” or the “Patents-in-Suit.”

51.    As described below, Defendant has been and is still infringing, willfully infringing,

and/or inducing others to infringe the Patents by making, using, offering for sale, selling, and/or

importing the “SWPRE” home search app or other similar home search apps (“the app”), and by

advertising, promoting, instructing, and facilitating the use of infringing devices and/or systems,

such as a smartphone having the app installed thereon (the “Accused System”). Defendant’s acts

of infringement have occurred within this District and elsewhere throughout the United States.

See Claim Charts for the Patents, attached hereto as Exhibits I–P (charting the Patents against the

SWPRE home search app).

52.    In addition to the SWPRE home search app, Defendant has been and is still infringing,

willfully infringing, and/or inducing others to infringe the Patents by making, using, offering for

sale, selling, and/or importing home search apps for, among others, Unity Home Group,

Waterfront Properties, The Hightower Team, Pearly Realty, National Realty of Brevard, Kenna

Real Estate Search, Oliver Realty, Jefferson Real Estate, We Know Boise Real Estate, LA

Properties Search, Las Vegas Luxury Home Pro, Madison Neighborhoods Team, Home Sales

Palm Beach, Bickerstaff Parham Real Estate, Rêve Realtors, Resource Realty Group, Hayden

Rowe Properties, The Beaches 360, Fridrich & Clark, Chicago Luxury Condos & Homes, and/or

Hightower Homes, and by advertising, promoting, instructing, and facilitating the use of




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infringing devices and/or systems, such as a smartphone having such an app installed thereon

(the “Accused System”). Defendant’s acts of infringement have occurred within Texas and

elsewhere throughout the United States. See Apple, Real Estate Websmaters Inc – iPad &

iPhone Apps at https://itunes.apple.com/us/developer/real-estate-webmasters-

inc/id623362022#see-all/i-phonei-pad-apps (last accessed Feb. 22, 2019), attached hereto as

Exhibit S; Google, Android Apps by Real Estate Webmasters® on Google Play at

http://play.google.com/store/apps/

developer?id=Real+Estate+Webmasters%Cw%AE (last accessed Feb. 25, 2019), attached hereto

as Exhibit Y; see also Exhibits T–X (specific REW apps on the Apple App Store), Z–OO

(specific REW apps on the Google Play Store).


                    COUNT I: INFRINGEMENT OF THE ’628 PATENT

53.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

54.     The ’628 Patent includes 21 claims. ʼ628 Patent, Ex. A at 20:57–24:25.

55.     The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ628 Patent, Ex. A at 13:51–56 (“At an operation 204, user's 106 location (i.e., geographic

position, latitude/longitude is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 13:57–62 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric



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information system 110 also retrieves a location identifier from database 112.”); 15:7–12

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In

such an embodiment, user 106 would then select the single location identifier.”); 15:37–40

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).

56.    Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ628 Patent describes systems and methods that

improve a user interface to a location-based search engine, making information retrieval more

streamlined and efficient. E.g., ʼ628 Patent, Ex. A at 15:37–40 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).

57.    Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ628 Patent claims systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ628 Patent, Ex. A at 22:1–23 (Claim 10) (“receiving directly

from the information system a second menu of location-centric information associated with the

property based on the selection of the icon to search for a property for sale, the second menu

having a plurality of selectable search icons including an icon to search based on the geographic

location of the electronic device”).




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58.    Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

59.    The claimed elements and claimed combinations of the ʼ628 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.

60.    The ʼ628 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.

61.    Defendant directly infringes one or more claims of the ʼ628 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ʼ628 Patent, attached hereto as Exhibit I.

62.    Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 10 of the ’628 Patent by using the Accused System. See Claim Chart

for the ʼ628 Patent, attached hereto as Exhibit I.

63.    Defendant has had actual knowledge of the ’628 Patent at least as early as the date of

service of this Complaint.

64.    At least as early as Defendant’s knowledge of the ʼ628 Patent, Defendant indirectly

infringed the ’628 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ’628 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’628 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly




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incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

65.     Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT II: INFRINGEMENT OF THE ’550 PATENT

66.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

67.     The ’550 Patent includes 14 claims. ʼ550 Patent, Ex. B at 20:61–22:43.

68.     The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ550 Patent, Ex. B at 13:54–59 (“At an operation 204, user's 106 location (i.e., geographic

position, latitude/longitude) is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 13:60–65 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric

information system 110 also retrieves a location identifier from database 112.”); 15:11–16

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In



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such an embodiment, user 106 would then select the single location identifier.”); 15:40–43

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).

69.    Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ550 Patent describes systems and methods that

improve a user interface to a location-based search engine, making information retrieval more

streamlined and efficient. E.g., ʼ550 Patent, Ex. B at 15:40–43 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).

70.    Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ550 Patent claims systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ550 Patent, Ex. B at 21:42–22:21 (Claim 8) (“receiving

directly from the information system a second menu of location-centric information associated

with the property based on the selection of the icon to search for a property for sale, the second

menu having a plurality of selectable search icons including an icon to search based on the

geographic location of the electronic device”).

71.    Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

72.    The claimed elements and claimed combinations of the ’550 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.




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73.    The ’550 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.

74.    Defendant directly infringes one or more claims of the ’550 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’550 Patent, attached hereto as Exhibit J.

75.    Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 8 of the ’550 Patent by using the Accused System. See Claim Chart

for the ’550 Patent, attached hereto as Exhibit J.

76.    Defendant has had actual knowledge of the ’550 Patent at least as early as the date of

service of this Complaint.

77.    At least as early as Defendant’s knowledge of the ʼ550 Patent, Defendant indirectly

infringed the ’550 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ550 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’550 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.




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78.     Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT III: INFRINGEMENT OF THE ’584 PATENT

79.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

80.     The ’584 Patent includes 16 claims. ʼ584 Patent, Ex. C at 21:9–24:32.

81.     The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ584 Patent, Ex. C at 13:66–14:4 (“At an operation 204, user's 106 location (i.e., geographic

position, latitude/longitude) is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 14:5–10 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric

information system 110 also retrieves a location identifier from database 112.”); 15:23–28

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In

such an embodiment, user 106 would then select the single location identifier.”); 15:52–55

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).



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82.    Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ584 Patent claims systems and methods that

improve a user interface to a location-based search engine, making information retrieval more

streamlined and efficient. E.g., ʼ584 Patent, Ex. C at 15:52–55 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).

83.    Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ584 Patent describes systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ584 Patent, Ex. C at 23:5–33 (Claim 12) (“receiving at the

mobile electronic device from the information system a menu of location-centric information

associated with the selected location identifier, the menu having a plurality of selectable icons to

search within a predetermined radius, the plurality of selectable icons including a plurality of

icons each configured to initiate a search within a predetermined radius of the geographic

location of the mobile electronic device when selected).

84.    Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

85.    The claimed elements and claimed combinations the ʼ584 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.

86.    The ʼ584 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.




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87.    Defendant directly infringes one or more claims of the ’584 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’584 Patent, attached hereto as Exhibit K.

88.    Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 12 of the ’584 Patent by using the Accused System. See Claim Chart

for the ’584 Patent, attached hereto as Exhibit K.

89.    Defendant has had actual knowledge of the ’584 Patent at least as early as the date of

service of this Complaint.

90.    At least as early as Defendant’s knowledge of the ʼ584 Patent, Defendant indirectly

infringed the ’584 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ584 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’584 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

91.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.




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                    COUNT IV: INFRINGEMENT OF THE ’317 PATENT

92.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

93.     The ’317 Patent includes 20 claims. ʼ317 Patent, Ex. D at 21:43–24:53.

94.     The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ317 Patent, Ex. D at 14:25–30 (“At an operation 204, user's 106 location (i.e., geographic

position, latitude/longitude) is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 14:31–36 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric

information system 110 also retrieves a location identifier from database 112.”); 15:51–55

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In

such an embodiment, user 106 would then select the single location identifier.”); 16:14–17

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).

95.     Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ317 Patent describes systems and methods that

improve a user interface to a location-based search engine, making information retrieval more


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streamlined and efficient. E.g., ʼ317 Patent, Ex. D at 16:14–17 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).

96.    Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ317 Patent claims systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ317 Patent, Ex. D at 23:52–24:31 (Claim 15) (“receiving at the

mobile electronic device from the information system a plurality of selectable icons to search

within a predetermined radius, each icon from the plurality of selectable icons configured to

initiate a search within a different predetermined radius of the geographic location of the mobile

electronic device when selected.”).

97.    Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

98.    The claimed elements and claimed combinations of the ’317 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.

99.    The ʼ317 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.

100.   Defendant directly infringes one or more claims of the ’317 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’317 Patent, attached hereto as Exhibit L.




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101.    Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 15 of the ’317 Patent by using the Accused System. See Claim Chart

for the ’317 Patent, attached hereto as Exhibit L.

102.    Defendant has had actual knowledge of the ’317 Patent at least as early as the date of

service of this Complaint.

103.    At least as early as Defendant’s knowledge of the ʼ317 Patent, Defendant indirectly

infringed the ’317 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ317 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’317 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

104.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT V: INFRINGEMENT OF THE ’371 PATENT

105.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

106.    The ’371 Patent includes 6 claims. ʼ371 Patent, Ex. E at 12:25–13:2.




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107.   The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ371 Patent, Ex. E at 6:39–44 (“At an operation 204, user's 106 location (i.e., geographic

position, latitude/longitude) is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 6:45–50 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric

information system 110 also retrieves a location identifier from database 112.”); 7:63–8:1

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In

such an embodiment, user 106 would then select the single location identifier.”); 8:25–28

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).

108.   Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ371 Patent describes systems and methods that

improve a user interface to a location-based search engine, making information retrieval more

streamlined and efficient. E.g., ʼ371 Patent, Ex. E at 8:25–28 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).




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109.    Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ371 Patent claims systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ371 Patent, Ex. E at 12:25–53 (Claim 1) (“receiving at said

handheld wireless device location-centric information from said information system, said

location-centric information related to a landmark for sale located proximate to said geographic

position of said handheld wireless device within the predetermined radial distance, said location-

centric attribute information including indicia of a plurality of features related to said landmark

for sale.”).

110.    Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

111.    The claimed elements and claimed combinations of the ʼ371 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.

112.    The ʼ371 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.

113.    Defendant directly infringes one or more claims of the ’371 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’371 Patent, attached hereto as Exhibit M.

114.    Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 1 of the ’371 Patent by using the Accused System. See Claim Chart

for the ’371 Patent, attached hereto as Exhibit M.




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115.    Defendant has had actual knowledge of the ’371 Patent at least as early as the date of

service of this Complaint.

116.    At least as early as Defendant’s knowledge of the ʼ371 Patent, Defendant indirectly

infringed the ’371 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ371 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’371 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

117.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT VI: INFRINGEMENT OF THE ’333 PATENT

118.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

119.    The ’333 Patent includes 12 claims. ʼ333 Patent, Ex. F at 12:56–14:41.

120.    The patented systems and methods make location-based search queries more efficient by

allowing, for a location-based search focused in time and occurring at a specific location, a user

to focus a location-based search query without leaving the context of the location-based search.

E.g., ʼ333 Patent, Ex. E at 6:65–7:2 (“At an operation 204, user's 106 location (i.e., geographic



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position, latitude/longitude) is determined using one of the methods described above. At an

operation 206, wireless device 102 provides the geographic position information to location-

centric information system 110.”), 7:3–5 (“In an operation 208, location-centric information

system 110 may retrieve location-centric information from database 112 based on the geographic

position information provided by wireless device 102. In one embodiment, location-centric

information system 110 also retrieves a location identifier from database 112.”); 8:23–27

(“Geographic position information of wireless device 102 may be attributed to a distinct

landmark within location-centric information system 110. In that case, location-centric

information system 110 may only transmit to wireless device 102 a single location identifier. In

such an embodiment, user 106 would then select the single location identifier.”); 8:54–58

(“When wireless device 102 receives the location-centric information in an operation 214, user

106 is able to manipulate the location-centric information to obtain location-centric information

relevant to user 106.”).

121.   Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ333 Patent describes systems and methods that

improve a user interface to a location-based search engine, making information retrieval more

streamlined and efficient. E.g., ʼ333 Patent, Ex. E at 8:54–57 (“When wireless device 102

receives the location-centric information in an operation 214, user 106 is able to manipulate the

location-centric information to obtain location-centric information relevant to user 106.”).

122.   Among the specific technologic improvements to a user interface for location-based

search engines, the ʼ333 Patent claims systems and methods that improve the user interface in

such a manner that a user may more efficiently, and thus more quickly, discover relevant

location-based information. E.g., ʼ333 Patent, Ex. E at 13:37–14:23 (Claim 7) (“sending to said




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handheld wireless device from said information system, data associated with a plurality of icons,

each icon from the plurality of icons being configured to provide a criteria for a search for a

landmark for sale from said plurality of landmarks for sale within a distance from said

geographic position of said handheld wireless device”).

123.   Allowing a user to focus a location-based search query while remaining within the

context of an initial location-based search enables the user to discover relevant location-based

data more efficiently, and thus, more quickly.

124.   The claimed elements and claimed combinations of the ʼ333 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field.

125.   The ʼ333 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations.

126.   Defendant directly infringes one or more claims of the ’333 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’333 Patent, attached hereto as Exhibit N.

127.   Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 7 of the ’333 Patent by using the Accused System. See Claim Chart

for the ’333 Patent, attached hereto as Exhibit N.

128.   Defendant has had actual knowledge of the ’333 Patent at least as early as the date of

service of this Complaint.

129.   At least as early as Defendant’s knowledge of the ʼ333 Patent, Defendant indirectly

infringed the ’333 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ333 Patent, Defendant has knowingly and




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intentionally induced users of the Accused System to directly infringe one or more claims of

the ’333 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

130.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT VII: INFRINGEMENT OF THE ’795 PATENT

131.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

132.    The ’795 Patent includes 22 claims. ʼ795 Patent, Ex. G at 7:56–10:23.

133.    The ’795 Patent claims specific technologic improvements directed to devices used for

providing information based on geographic position. E.g., ʼ795 Patent, Ex. G at 3:59–61 (“A

system includes a location aware search engine that identifies a user's geographic location and

then delivers information associated with a landmark at that location to the user.”).

134.    Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ795 Patent describes systems and methods that

make information storage and retrieval more streamlined and efficient. E.g., ʼ795 Patent, Ex. G

at 4:11–17 (“A mobile or wireless device can be used to access a database to search for

information, promotions, and events at landmarks relative to where the user is physically located.



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The system requires limited typing as the system uses location-detecting technology, such as

through an operative communication with a GPS satellite, to identify where the user is

standing.”) (emphasis added).

135.   Among the specific technologic improvements to location-based search engines, the ʼ795

Patent claims a method that makes location-based search queries more efficient and, therefore,

faster. E.g., ʼ795 Patent, Ex. G at 10:1–23 (Claim 22) (“wherein the data input by a user is

automatically associated with the geographic position substantially simultaneously with the

data being input by the user.”) (emphasis added).

136.   The patented method makes location-based search queries more efficient by

automatically associating user-input data with a user’s geographic position in real-time or near

real-time with the user input. E.g., ʼ795 Patent, Ex. G at 7:35–40 (“At step 62 the user can input

data into the device via a user interface (e.g., keypad, stylus, touch-screen), and at step 64 the

device 20 can transmit the data to the database 26. This allows information about a landmark to

be loaded into the database in real-time and made available to other users of the database 26 as

described above.”).

137.   Associating user-input data with a user’s geographic position in real-time or near real-

time with the user input enables a location-based search query to combine user-input data and

geographic location into a single associative database query.

138.   Among the specific technologic improvements to location-based search databases, the

ʼ795 Patent claims a system that stores and retrieves results to location-based search queries

more efficiently and, therefore, faster. E.g., ʼ795 Patent, Ex. G at 9:1–19 (Claim 17) (“the

information database configured to automatically associate the data with geographic position




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substantially simultaneously with the transmitted data being uploaded to the database.”)

(emphasis added).

139.   The patented system makes location-based search databases more efficient by

automatically associating user-input data with the geographic position at substantially the same

time the user data is uploaded to the database. By associating user-input data with geographic

position data, the search query submitted to the database combines user-input data and

geographic position data as a single query, allowing the database to be efficiently indexed

according to an association of data types and geographic position.

140.   The claimed elements and claimed combinations were not well-understood, routine, and

conventional to a skilled artisan in the relevant field. E.g., ʼ795 Patent, Ex. G at 9:1–19 (Claim

17) (“the information database configured to automatically associate the data with geographic

position substantially simultaneously with the transmitted data being uploaded to the

database.”) (emphasis added).

141.   The ʼ795 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations. For example, the “traditional methods

of obtaining such information include using printed materials such as guide books, maps, etc.,

communicating with people knowledgeable about the particular location, and researching the

particular location either before or after being physically present at the location.” ʼ795 Patent,

Ex. G at 1:65–2:3; see also id. at 2:4–8 (“Such methods of obtaining information may

significantly detract from the person's ability to appreciate or experience the location at which

they are present. Put more simply, the person may not be able to gather or access enough

information about the location because it is not readily available.”), 2:9–14 (“Additionally, the




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person may not be able to access information about the location that is based on time. For

example, if a person is visiting a famous landmark at a time when there are no tour guides

available and the local gift shop is closed, the person may not be able to obtain valuable

information about the landmark.”).

142.   The ’795 Patent describes systems that improve location-aware search. E.g., ʼ795 Patent,

Ex. G at 7:35–40 (“At step 62 the user can input data into the device via a user interface (e.g.,

keypad, stylus, touch-screen), and at step 64 the device 20 can transmit the data to the database

26. This allows information about a landmark to be loaded into the database in real-time and

made available to other users of the database 26 as described above.”) (emphasis added).

143.   The claims of the ’795 Patent are not directed to a method of organizing human activity,

nor are they directed to a fundamental economic practice long prevalent in our system of

commerce. E.g., ʼ795 Patent, Ex. G at 7:7–18 (“At step 50 a geographic position of a wireless

device 20 operated by a user 34 is identified. As described above, this identification can include

communication with a GPS satellite to identify longitude and latitude coordinates for the

geographic position of the device 20. The geographic position can then be transmitted to a

database 26 at step 52. At step 54, data associated with one or more landmarks at the geographic

position is received at the device 20 from the database 26. The data can be automatically

transmitted from the database 26 to the device 20 based on the geographic position of the device

20.”); 7:35–40 (“At step 62 the user can input data into the device via a user interface (e.g.,

keypad, stylus, touch-screen), and at step 64 the device 20 can transmit the data to the database

26. This allows information about a landmark to be loaded into the database in real-time and

made available to other users of the database 26 as described above.”) (emphasis added).




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144.      The systems and methods of the ʼ795 Patent overcome technical problems—limitations

on location-aware search and how to provide content for a location-aware search, as well as

improving the efficiency of a database through better indexing. E.g., ʼ795 Patent, Ex. G at 4:11–

17 (“A mobile or wireless device can be used to access a database to search for information,

promotions, and events at landmarks relative to where the user is physically located. The system

requires limited typing as the system uses location-detecting technology, such as through an

operative communication with a GPS satellite, to identify where the user is standing.”) (emphasis

added).

145.      Defendant directly infringes one or more claims of the ʼ795 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ʼ795 Patent, attached hereto as Exhibit O.

146.      Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 17 of the ʼ795 Patent by using the Accused System. See Claim Chart

for the ’795 Patent, attached hereto as Exhibit O.

147.      Defendant has had actual knowledge of the ʼ795 Patent at least as early as the date of

service of this Complaint.

148.      At least as early as Defendant’s knowledge of the ʼ795 Patent via service of this

Complaint, Defendant indirectly infringed the ’795 Patent within the United States by

inducement under 35 U.S.C. § 271(b). As of the date of Defendant’s knowledge of the ʼ795

Patent, Defendant has knowingly and intentionally induced users of the Accused System to

directly infringe one or more claims of the ’795 Patent, inter alia, by: (1) providing instructions

or information, for example on its publicly available website, to explain how to use the Accused

System in an infringing manner, including the use of the Accused System in manners described




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above, which are expressly incorporated herein; and (2) touting these infringing uses of the

Accused System. One example is Defendant’s App Store listing for the app, which details how to

use the Accused System. See Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

149.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                    COUNT VIII: INFRINGEMENT OF THE ’199 PATENT

150.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if fully

set forth herein.

151.    The ’199 Patent includes 22 claims. ʼ199 Patent, Ex. H at 7:63–10:22.

152.    The ’199 Patent claims specific technologic improvements directed to devices used for

providing information based on geographic position. E.g., ʼ199 Patent, Ex. H at 3:65–67 (“A

system includes a location aware search engine that identifies a user's geographic location and

then delivers information associated with a landmark at that location to the user.”).

153.    Among the specific technologic improvements directed to devices used for providing

information based on geographic position, the ʼ199 Patent describes systems and methods that

make information storage and retrieval more streamlined and efficient. E.g., ʼ199 Patent, Ex. H

at 4:17–23 (“A mobile or wireless device can be used to access a database to search for

information, promotions, and events at landmarks relative to where the user is physically located.

The system requires limited typing as the system uses location-detecting technology, such as

through an operative communication with a GPS satellite, to identify where the user is

standing.”) (emphasis added).




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154.   Among the specific technologic improvements to location-based search engines, the ʼ199

Patent claims a method that makes location-based search queries more efficient and, therefore,

faster. E.g., ʼ199 Patent, Ex. H at 10:1–10 (Claim 19) (“wherein the data input by a user is

automatically associated with the geographic position substantially simultaneously with the

data being input by the user.”) (emphasis added).

155.   The patented method makes location-based search queries more efficient by

automatically associating user-input data with a user’s geographic position in real-time or near

real-time with the user input. E.g., ʼ199 Patent, Ex. H at 7:41–46 (“At step 62 the user can input

data into the device via a user interface (e.g., keypad, stylus, touch-screen), and at step 64 the

device 20 can transmit the data to the database 26. This allows information about a landmark to

be loaded into the database in real-time and made available to other users of the database 26 as

described above.”).

156.   Associating user-input data with a user’s geographic position in real-time or near real-

time with the user input enables a location-based search query to combine user-input data and

geographic location into a single associative database query.

157.   Among the specific technologic improvements to location-based search databases

providing results to location-based search engines, the ʼ199 Patent claims a system that stores

and retrieves results to location-based search queries more efficiently and, therefore, faster. E.g.,

ʼ199 Patent, Ex. H at 9:8–18 (“a wireless device configured to provide a geographic position of

the wireless device to the database . . . the information database configured to automatically

associate the data with geographic position substantially simultaneously with the transmitted

data being uploaded to the database.”) (emphasis added).




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158.   The patented system of the ʼ199 Patent makes location-based search databases more

efficient by automatically associating user-input data with the geographic position at

substantially the same time the user data is being uploaded to the database. By associating user-

input data with geographic position data, the search query submitted to the database combines

user-input data and geographic position data as a single query, allowing the database itself to be

efficiently indexed according to an association of data types and geographic position.

159.   The claimed elements and claimed combinations of the ʼ199 Patent were not well-

understood, routine, and conventional to a skilled artisan in the relevant field. E.g., ʼ199 Patent,

Ex. H at 9:8–18 (“a wireless device configured to provide a geographic position of the wireless

device to the database . . . the information database configured to automatically associate the

data with geographic position substantially simultaneously with the transmitted data being

uploaded to the database.”) (emphasis added).

160.   The ʼ199 Patent claims a mobile location aware search engine and method of providing

content for same, as opposed to traditional methods of obtaining location-centric information,

which relied on conventional elements and combinations. For example, the “traditional methods

of obtaining such information include using printed materials such as guide books, maps, etc.,

communicating with people knowledgeable about the particular location, and researching the

particular location either before or after being physically present at the location.” ʼ199 Patent,

Ex. H at 2:3–8, see also id. at 2:9–13 (“Such methods of obtaining information may significantly

detract from the person's ability to appreciate or experience the location at which they are

present. Put more simply, the person may not be able to gather or access enough information

about the location because it is not readily available.”); id. at 2:14–19 (“Additionally, the person

may not be able to access information about the location that is based on time. For example, if a




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person is visiting a famous landmark at a time when there are no tour guides available and the

local gift shop is closed, the person may not be able to obtain valuable information about the

landmark.”).

161.     The ʼ199 Patent describes systems that improve location-aware search. E.g., ʼ199 Patent,

Ex. H at 7:41–46 (“At step 62 the user can input data into the device via a user interface (e.g.,

keypad, stylus, touch-screen), and at step 64 the device 20 can transmit the data to the database

26. This allows information about a landmark to be loaded into the database in real-time and

made available to other users of the database 26 as described above.”) (emphasis added).

162.     The claims of the ʼ199 Patent are not directed to a method of organizing human activity,

nor are they directed to a fundamental economic practice long prevalent in our system of

commerce. E.g., ʼ199 Patent, Ex. H at 7:13–24 (“At step 50 a geographic position of a wireless

device 20 operated by a user 34 is identified. As described above, this identification can include

communication with a GPS satellite to identify longitude and latitude coordinates for the

geographic position of the device 20. The geographic position can then be transmitted to a

database 26 at step 52. At step 54, data associated with one or more landmarks at the geographic

position is received at the device 20 from the database 26. The data can be automatically

transmitted from the database 26 to the device 20 based on the geographic position of the device

20.”); 7:41–46 (“At step 62 the user can input data into the device via a user interface (e.g.,

keypad, stylus, touch-screen), and at step 64 the device 20 can transmit the data to the database

26.”).

163.     Defendant directly infringes one or more claims of the ’199 Patent without authority by

using, including without limitation testing, products and systems, including by way of example,

the Accused System. See Claim Chart for the ’199 Patent, attached hereto as Exhibit P.




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164.   Defendant has been and is directly infringing, either literally or under the doctrine of

equivalents, at least Claim 1 of the ’199 Patent by using the Accused System. See Claim Chart

for the ’199 Patent, attached hereto as Exhibit P.

165.   Defendant has had actual knowledge of the ’199 Patent at least as early as the service of

this Complaint.

166.   At least as early as Defendant’s knowledge of the ʼ199 Patent, Defendant indirectly

infringed the ’199 Patent within the United States by inducement under 35 U.S.C. § 271(b). As

of the date of Defendant’s knowledge of the ʼ199 Patent, Defendant has knowingly and

intentionally induced users of the Accused System to directly infringe one or more claims of

the ’199 Patent, inter alia, by: (1) providing instructions or information, for example on its

publicly available website, to explain how to use the Accused System in an infringing manner,

including the use of the Accused System in manners described above, which are expressly

incorporated herein; and (2) touting these infringing uses of the Accused System. One example is

Defendant’s App Store listing for the app, which details how to use the Accused System. See

Exhibit Q, saved January 22, 2018 from

https://itunes.apple.com/us/app/swpre/id1438114345?mt=8.

167.   Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.


                                     PRAYER FOR RELIEF

       WHEREFORE, Smarter Agent respectfully requests that the Court enter judgment as

follows:

       A.      Declaring that Defendant has infringed the Patents;




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        B.      Awarding damages in an amount to be proven at trial, but in no event less than a

reasonable royalty for Defendant’s infringement including pre-judgment and post-judgment

interest at the maximum rate permitted by law;

        C.      Ordering an award of reasonable attorneys’ fees against Defendant to Smarter

Agent as provided by 35 U.S.C. § 285;

        D.      Awarding expenses, costs, and disbursements in this action against Defendant,

including prejudgment interest; and

        E.      Ordering a permanent injunction enjoining Defendant, their officers, agents,

servants, employees, attorneys, and all other persons in active concert or participation with

Defendant from infringing the Patents; and

        F.      Awarding such other and further relief as the Court deems just and proper.


                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Fed. R. Civ. Proc., Plaintiff hereby demands trial by jury in

this action of all claims so triable.


Dated: March 4, 2019                              Respectfully submitted,

                                                  _/s/ Scott Crocker ___________
                                                  Steven Sprinkle
                                                  Texas State Bar No. 00794962
                                                  Scott Crocker
                                                  Texas State Bar No. 00790532
                                                  SPRINKLE IP LAW GROUP, P.C.
                                                  1301 W. 25th Street, Suite 408
                                                  Austin, Texas 78705
                                                  (512) 637-9220
                                                  (512) 371-9088 – facsimile
                                                  E-mail: ssprinkle@sprinklelaw.com
                                                  E-mail: scrocker@sprinklelaw.com

                                                  Jeffrey G. Toler, Lead Counsel
                                                  Texas State Bar No. 24011201


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                               Benjamin R. Johnson (pro hac vice admission
                               pending)
                               Texas State Bar No. 24065495
                               TOLER LAW GROUP, PC
                               8500 Bluffstone Cove
                               Suite A201
                               Austin, Texas 78759
                               (512) 327-5515
                               E-mail: jtoler@tlgiplaw.com
                               E-mail: bjohnson@tlgiplaw.com
                               Attorneys for Plaintiff Smarter Agent, LLC.




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